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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                       8:17CR286

        vs.
                                                                           ORDER
JOSE LUIS MURILLO,

                        Defendant.


       This matter is before the Court on Defendant's MOTION TO EXTEND PRETRIAL
MOTION DEADLINE [232]. The Court notes that a jury trial is set for August 27, 2018, before
District Judge Robert F. Rossiter, Jr. as to Defendant Jose Luis Murillo, and co-defendants Brijido
Beltran-Rodelo, John F. Haller, III, Ana Karla Rodriguez-Torrez, Fidel Giovanni Avila-Monzon,
Matian Alfonso Ceballos-Aguirre, Jesus Francisco Monzon-Moreno, Juan Vega-Diaz, Marcos
Monzon-Rivas, and Dora Maria Ortiz-Torres. However, for good cause shown, I find that the
motion should be granted. Defendant will be given an approximate thirty (30) day extension. Leave
is given to file pretrial motions on or before August 15, 2018. Accordingly,


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND PRETRIAL MOTION DEADLINE [232] is
granted. Pretrial motions shall be filed on or before August 15, 2018.
       2.      The Jury Trial set for August 27, 2018, as to Jose Luis Murillo, and co-defendants
Brijido Beltran-Rodelo, John F. Haller, III, Ana Karla Rodriguez-Torrez, Fidel Giovanni Avila-
Monzon, Matian Alfonso Ceballos-Aguirre, Jesus Francisco Monzon-Moreno, Juan Vega-Diaz,
Marcos Monzon-Rivas, and Dora Maria Ortiz-Torres is cancelled, and shall be rescheduled upon
the expiration of the August 15, 2018, pretrial motion filing deadline.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between July 16, 2018, and August 15, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that additional time is required to adequately prepare the case, taking into
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consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(6)-(7).


       Dated this 19th day of July, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge




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